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                      INDEX OF EXHIBITS
Exhibit 1:   Individual Retirement Custodial Account Agreement


Exhibit 2:   Massachusetts Securities Division/Woodbridge Consent Order dtd May 4, 2015

Exhibit 3:   Texas Securities Board/Woodbridge Emergency Cease and Desist Order
             dtd July 17, 2015

Exhibit 4:   Arizona Securities Division/Woodbridge Temporary Order To Cease and Desist
             dtd October 4, 2016

Exhibit 5:   Pennsylvania Department of Securities/Woodbridge Consent Order
             dtd April 24, 2017

Exhibit 6:   Michigan Securities Bureau/Woodbridge Notice and Order To Cease and Desist
             dtd August 8, 2017

Exhibit 7:   Letter from Mainstar Trust to Anna Rybak dtd November 6, 2017

Exhibit 8:   2017 Provident Account Statement for Noel C. Murray Roth IRA
